Case 2:21-cv-02085-NIQA Documenti-1 Filed 05/06/21 Pagelof1
JS.44 (Rev. 10/20) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
John Feehan Trans Union, LLC

(b) County of Residence of First Listed Plaintiff Bucks County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN USS. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Nancy Kanter, Esquire, Pine Street Legal, LLC, 19 S.
Pine Street, Doylestown PA 18901, (215) 345-9214

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) Til. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
(11 US. Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State oO 1 iS 1 Incorporated or Principal Place oO 4 oO 4
of Business In This State
oO 2 U.S. Government C44 Diversity Citizen of Another State Lj 2 oO 2. Incorporated and Principal Place CO 5 oO 5
Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject of a C13 [) 3 Foreign Nation Oe (Ce
Foreign Country

IV. NATURE OF SUIT (Place an “x” in One Box Onl)

Click here for: N:

110 Insurance PERSONAL INJURY PERSONAL INJURY | \625 Drug Related Seizure - 375 False Claims Act
120 Marine 310 Airplane 365 Personal Injury - of Property 21 USC 881 |_| 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 372%(a))
140 Negotiable Instrument Liability Ol 367 Health Care/ 400 State Reapportionment
150 Recovery of Overpayment |_| 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act |_| 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability O 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Applicati 470 Rack Infl d and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY 880 Defend Trade Secrets cy 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders’ Suits 355 Motor Vehicle LH 371 Truth in Lending Act |_| 485 Telephone Consumer
[es 190 Other Contract Product Liability J 380 Other Personal | 720 Labor/Management SCIA! CUI Protection Act
195 Contract Product Liability |_| 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI %] 890 Other Statutory Actions
ViL | _|790 Other Labor Litigation 865 RSI (405(g)) 891 Agricultural Acts

210 Land Con lemnat ion 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
|_]220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act "SUitS |_| 895 Freedom of Information
| ]230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate | _] 870 Taxes (U.S. Plaintiff Act
| ]240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations | | 530 General [ | 871 IRS—Third Party 899 Administrative Procedure
[_]290 All Other Real Property |_] 445 Amer. w/Disabilities - [| 535 Death Penalty 26 USC 7609 Act/Review or Appeal of

Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities -[_| 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confi t
V. ORIGIN (Place an “xX” in One Box Only)
& 1 Original 2 Removed from oO 3. Remanded from oO 4 Reinstated or oO 5 Transferred from 6 Multidistrict El 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional unless diversity):
15 U.S.C. Section 1681, et seq.
VI. CAUSE OF ACTION f- ane
Brief description of cause:
Fair Credit Reporting Act Violations
VII. REQUESTED IN  ([] CHECK/IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Klyes [No
VIII. RELATED CASE(S)
(See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE oss SIGNATURE OF ATTORNEY OF RECORD
May 6, 2021 Lom
FOR OFFICE USE ONLY i

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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